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Lawyers for Plaintiff Allstate Insurance Company


                         IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF ALASKA

ALLSTATE INSURANCE COMPANY,                                    )
an Illinois corporation,                                       )
                                                               )
                       Plaintiff,                              ) Case No. 1:21-cv-00011-JWS
                                                               )
       vs.                                                     )
                                                               )
BEVERLY ANN ANDERSON, Individually and as                      )
Personal Representative of the ESTATE OF CLIFFORD              )
FRANCIS ADAMS, JR., MARIAN ADAMS, JUNEAU                       )
EMERGENCY MEDICAL ASSOCIATES, and                              )
TRAVIS K. ACEVEDA,                                             )
                                                               )
                       Defendants.                             )
                                                               )

                                        COMPLAINT FOR
                                    DECLARATORY JUDGMENT

       Plaintiff Allstate Insurance Company, through its lawyers, Clayton & Diemer, LLC

complains and alleges as follows:

                                                I. PARTIES

       1.      Allstate Insurance Company ("Allstate") is incorporated and has its principal place

of business in the State of Illinois. Allstate is authorized to conduct business in the State of Alaska

and has fully complied with all statutory prerequisites for bringing this suit.




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       2.       Defendant Beverly Ann Anderson, individually, and as Personal Representative of

the Estate of Clifford Francis Adams, Jr., is a resident of the State of Alaska.

       3.       Defendant Marian Adams is a resident of the State of Alaska.

       4.       Defendant Juneau Emergency Medical Associates is an Alaska corporation

operating in Juneau, Alaska.

       5.       Defendant Travis K. Aceveda (“Aceveda”) is a resident of the State of Alaska.

                               II.      JURISDICTION & VENUE

       6.       This is an action for declaratory judgment and other relief, for which the Court has

jurisdiction pursuant to 28 U.S.C. § 2201.

       7.       This court has subject matter jurisdiction under 28 U.S.C. §1331(a)(1) because the

matter in controversy exceeds the sum or value of $75,000, exclusive of interest and costs, and is

between citizens of different states.

       8.       Venue is proper pursuant to 28 U.S.C. §1391(b)(1) and (2).

                               III.     GENERAL ALLEGATIONS

       9.       Allstate issued a Condominium Owners Policy (form AP411), Policy Number

807075352, to named insured Travis K. Aceveda for the premium period August 23, 2017 through

August 23, 2018 for property located at 4401 Riverside Dr. Unit B4, Juneau, Alaska (hereinafter

referred to as “Condo Policy”). A true and correct copy of the Condo Policy is attached hereto as

Exhibit 1.

       10.      During the early morning hours of January 6, 2018, Aceveda exited the Imperial

Bar in downtown Juneau and allegedly pushed Clifford Adams, Jr. and/or struck Clifford Adams,

Jr. with the door to the bar causing him to fall and strike his head. Clifford Adams, Jr. died from

the injuries he sustained as a result of the January 6, 2018 incident.



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       11.     As a result of the January 6, 2018 incident, Aceveda was indicted on charges of

Assault in the Third Degree in violation of AS 11.41.220(a)(4) in Case No. 1JU-19-00717CR. A

true and correct copy of the Information Replacing Indictment is attached hereto as Exhibit 2.

       12.     Pursuant to a Rule 11 Agreement reached by the State of Alaska and Aceveda on

or about January 19, 2021, Aceveda pled guilty to a reduced count of Assault in the Third Degree

in violation of AS 11.41.220(a)(4), and admitted to the “most serious” aggravator under AS

12.55.155(c)(10). A true and correct copy of the Notice of Rule 11 Agreement is attached hereto

as Exhibit 3; a true and correct copy of the Judgment and Order of Commitment/Probation is

attached hereto as Exhibit 4.

       13.     At a May 11, 2021 sentencing hearing, Aceveda received a sentence of 5 years’

incarceration with three years suspended as a result of his conviction of Assault in the Third

Degree. Exhibit 4, Judgment and Order of Commitment/Probation.

       14.     On or about December 24, 2019, Marian Adams and Beverly Ann Anderson,

individually and as the Personal Representative of the Estate of Clifford Adams, Jr., filed a

Complaint for damages arising out of the January 6, 2018 incident against Juneau Emergency

Medical Associates, City & Borough of Juneau/Barlett Regional Hospital, and the United States

in the Superior Court for the State of Alaska, First Judicial District at Juneau, Case No. 1JU-19-

01014 CI.

       15.     Case No. 1JU-19-01014 CI was removed to the U.S. District Court, Case No. 1:20-

CV-00010-SLG, on or about September 21, 2020.

       16.     On or about December 8, 2020, Juneau Emergency Medical Associates filed a

Third Party Complaint against Aceveda in Case No. 1:20-CV-00010-SLG alleging that Aceveda’s

negligence caused Clifford Adams, Jr.’s injury, and seeking equitable apportionment of fault



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against Aceveda pursuant to AS 09.17.080 (hereinafter referred to as “underlying Third Party

Complaint”). A true and correct copy of the underlying Third Party Complaint is attached hereto

as Exhibit 5.

                       IV.     CLAIM FOR DECLARATORY RELIEF

       17.      Allstate incorporates by reference all allegations in paragraphs 1-16.

       18.      Allstate Condo Policy Coverage X Family Liability Protection, Policy Number

807075352, is subject to exclusions from coverage. The claims asserted against Aceveda in the

underlying Third Party Complaint are excluded from coverage pursuant to the following Policy

exclusion:

       1. We do not cover any bodily injury or property damage intended by, or which
          may reasonably be expected to result from the intentional or criminal acts or
          omissions of, any insured person. This exclusion applies even if:
          a) such insured person lacks the mental capacity to govern his or her own
             conduct;
          b) such bodily injury or property damage is of a different kind or degree
             than intended or reasonably expected; or
          c) such bodily injury or property damage is sustained by a different person
             than intended or reasonably expected.

Exhibit 1, Condo Policy at p. 18.

       19.      Allstate Condo Policy Coverage Y Guest Medical Protection, Policy Number

807075352, is subject to exclusions from coverage. The claims asserted against Aceveda in the

underlying Third Party Complaint are excluded from coverage pursuant to the following Policy

exclusion:

       1. We do not cover any bodily injury intended by, or which may reasonably be
          expected to result from the intentional or criminal acts or omissions of, any
          insured person. This exclusion applies even if:
          a) such insured person lacks the mental capacity to govern his or her own
             conduct;
          b) such bodily injury is of a different kind or degree than intended or
             reasonably expected; or



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                c) such bodily injury is sustained by a different person than intended or
                   reasonably expected.

Exhibit 1, Condo Policy at p. 20.

          20.      Allstate is entitled to a declaration that the claims asserted against Aceveda in the

underlying Third Party Complaint attached hereto as Exhibit 5 are not covered under the Allstate

Condo Policy.

          21.      Allstate is entitled to a declaration that Allstate has no duty under the terms of the

Allstate Condo Policy to defend Aceveda against the claims asserted in the underlying Third Party

Complaint attached hereto as Exhibit 5.

          22.      Allstate is entitled to a declaration that Allstate has no duty under the terms of the

Allstate Condo Policy to indemnify Aceveda for any sums he becomes legally obligated to pay

Beverly Ann Anderson, individually and as Personal Representative of The Estate of Clifford

Adams, Jr., and/or Marian Adams in the underlying Third Party Complaint attached hereto as

Exhibit 5.

          WHEREFORE, Plaintiff prays for relief as follows:

          1.       For judgment declaring that the claims asserted against Aceveda in the underlying

Third Party Complaint attached hereto as Exhibit 5 are not covered under the Allstate Condo

Policy;

          2.       For judgment declaring that Allstate has no duty under the terms of the Allstate

Condo Policy to defend Aceveda against the claims asserted in the underlying Third Party

Complaint attached hereto as Exhibit 5.

          3.       For judgment declaring that Allstate has no duty under the terms of the Allstate

Condo Policy to indemnify Aceveda for any sums he becomes legally obligated to pay Beverly




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Ann Anderson, individually and as Personal Representative of The Estate of Clifford Adams, Jr.,

and/or Marian Adams in the underlying Complaint attached hereto as Exhibit 5.

       4.      For such other relief as the Court deems just and proper.

       DATED at Anchorage, Alaska this 24th of May, 2021.

                                           CLAYTON & DIEMER, LLC
                                           Attorneys for Plaintiff

                                           By: /s/ Alfred Clayton, Jr.
                                           Alfred Clayton, Jr.
                                           ABA No. 9111079




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